       Case 3:21-cv-07559-WHA           Document 47        Filed 02/10/21       Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

SONOS, INC.,

               Plaintiff,

       vs.                                         Case No. 6:20-cv-00881-ADA
GOOGLE LLC,

               Defendant.


             JOINT MOTION TO ENTER AMENDED SCHEDULING ORDER
TO THE HONORABLE COURT:

       Pursuant to the Court’s Order moving the Markman hearing to July 1, 2021 and shifting

all dates accordingly (Dkt. 45), the Parties conferred on a proposed amended scheduling order and

have agreed to a proposed amended schedule, attached as Exhibit A. The Parties respectfully

request that the Court enter the agreed upon schedule set forth in Exhibit A.



DATED: February 10, 2021                     Respectfully submitted,

                                             By: /s/ Mark D. Siegmund_____
                                             Mark D. Siegmund
                                             State Bar No. 24117055
                                             mark@waltfairpllc.com
                                             Law Firm of Walt, Fair PLLC.
                                             1508 North Valley Mills Drive
                                             Waco, Texas 76710
                                             Telephone: (254) 772-6400
                                             Facsimile: (254) 772-6432



                                              Clement Seth Roberts (admitted pro hac vice)
                                              California Bar No. 209203
                                              ORRICK, HERRINGTON & SUTCLIFFE LLP
                                              405 Howard St.
                                              San Francisco, CA 94105
Case 3:21-cv-07559-WHA   Document 47     Filed 02/10/21         Page 2 of 3




                             Telephone: 415.773.5484
                             Facsimile: 415.773.5759
                             croberts@orrick.com


                             Bas de Blank (admitted pro hac vice)
                             California Bar No. 191487
                             ORRICK, HERRINGTON & SUTCLIFFE LLP
                             1000 Marsh Blvd.
                             Menlo Park, CA 94205
                             Telephone: 650.614.7343
                             Facsimile: 650.614.7401
                             bdeblank@orrick.com

                             Alyssa Caridis (admitted pro hac vice)
                             California Bar No. 260103
                             ORRICK, HERRINGTON & SUTCLIFFE LLP
                             777 South Figueroa St., Suite 3200
                             Los Angeles, CA 90017
                             Telephone: 213.612.2372
                             Facsimile: 213.612.2499
                             acaridis@orrick.com

                             George I. Lee (admitted pro hac vice)
                             Illinois Bar No. 6225430
                             Sean M. Sullivan (admitted pro hac vice)
                             Illinois Bar No. 6230605
                             Rory P. Shea (admitted pro hac vice)
                             Illinois Bar No. 6290745
                             J. Dan Smith (admitted pro hac vice)
                             Illinois Bar No. 6300912
                             LEE SULLIVAN SHEA & SMITH LLP
                             656 W. Randolph St., Floor 5W
                             Chicago, IL 60661
                             Telephone: 312.754.9602
                             Facsimile: 312.754.9603
                             lee@ls3ip.com
                             sullivan@ls3ip.com
                             shea@ls3ip.com
                             smith@ls3ip.com

                            Counsel for Plaintiff Sonos, Inc.
      Case 3:21-cv-07559-WHA   Document 47    Filed 02/10/21    Page 3 of 3




DATED: February 10, 2021        QUINN EMANUEL URQUHART & SULLIVAN,
                                LLP

                                 By: Charles K. Verhoeven
                                    Charles K. Verhoeven (pro hac vice)
                                    charlesverhoeven@quinnemanuel.com
                                    Melissa Baily (pro hac vice)
                                    melissabaily@quinnemanuel.com
                                    Jordan Jaffe (pro hac vice)
                                    jordanjaffe@quinnemanuel.com
                                    Lindsay Cooper (pro hac vice)
                                    lindsaycooper@quinnemanuel.com
                                    QUINN EMANUEL URQUHART &
                                    SULLIVAN LLP
                                    50 California Street, 22nd Floor
                                    San Francisco, California 94111-4788
                                    Telephone:     (415) 875 6600
                                    Facsimile:     (415) 875 6700

                                    Paige Arnette Amstutz
                                    Texas State Bar No. 00796136
                                    SCOTT, DOUGLASS & MCCONNICO, LLP
                                    303 Colorado Street, Suite 2400
                                    Austin, TX 78701
                                    Telephone: (512) 495-6300
                                    Facsimile: (512) 495-6399
                                    pamstutz@scottdoug.com

                                    Counsel for Defendant Google LLC
